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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DANIEL CHERTOK,                                    )
                                                   )
               Plaintiff,                          )
v.                                                 )     Case No.: 1:18-cv-06407
                                                   )
G.M. GOLDMAN & ASSOCIATES, INC.,                   )     Judge Tharp
                                                   )
               Defendant.                          )
                                                   )


                              STIPULATION OF DISMISSAL

        The undersigned parties, by their respective counsel, hereby agree and stipulate pursuant
to Fed. R. Civ. P. 41(a)(1)(A), to the dismissal of all claims by Plaintiff Daniel Chertok with
prejudice, and the claims of putative class members without prejudice, against Defendant G.M.
Goldman & Associates, Inc. in this action pursuant to settlement, the parties agreeing to bear
their own costs and fees.


                                                       Defendant G.M. GOLDMAN &
Plaintiff DANIEL CHERTOK,                              ASSOCIATES, INC.,


By: /s/ Thomas A. Zimmerman, Jr.                       By: /s/ Todd P. Stelter
      Thomas A. Zimmerman, Jr.                                Todd P. Stelter
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                                   PROOF OF SERVICE

        Thomas A. Zimmerman, Jr., an attorney, hereby certifies that he caused the above and
foregoing Stipulation of Dismissal to be served upon counsel of record in this case via the U.S.
District Court CM/ECF System, on this day December 17, 2018.


                                    s/ Thomas A. Zimmerman, Jr.




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